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Attorney for Plaintiffs
                        UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION

VIRGINIA IBARRA,                                      Case No. 6:17-cv-00067-MC

                Plaintiff,                            NOTICE OF SETTLEMENT

       v.

CAPITAL ONE BANK,

                Defendant.


       NOW COMES Plaintiff, VIRGINIA IBARRA (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.


       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.


Dated: August 18, 2017                LAW OFFICE OF KENNETH P DOBSON

                                      /s/ Kenneth P. Dobson
                                      Kenneth P Dobson
                                      Attorney for Plaintiff,
                                      VIRGINIA IBARRA




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                            CERTIFICATE OF SERVICE

       I hereby certify that on August 18, 2017, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System.



                                           By:       /s/ Kenneth P. Dobson
                                                     Kenneth P. Dobson
                                                     Attorney for Plaintiff




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